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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC; and JANE DOE,

      Plaintiffs,

      v.                                     Case No. 4:18-CV-137-MW-CAS

PAM BONDI, in her Official Capacity
as Attorney General of Florida; and RICK
SWEARINGEN, in his Official Capacity
as Commissioner of the Florida
Department of Law Enforcement,

     Defendants.
_________________________________/

     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’
          MOTION TO PROCEED UNDER PSEUDONYMS

      “Lawsuits are public events.” Doe v. Frank, 951 F.2d 320, 324 (11th Cir.

1992). Consistent with that principle, Federal Rule of Civil Procedure 10(a) directs

that “[t]he title of the complaint must name all the parties” to the suit (emphasis

added). The “clear mandate” of Rule 10(a) “protects the public’s legitimate interest

in knowing all of the facts involved, including the identities of the parties” who

have chosen to commence a public lawsuit. Id. at 322-23. Thus, the rule reflects

and codifies a “constitutionally-embedded presumption of openness in judicial
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proceedings.” See id. at 323 (quoting Doe v. Stegall, 653 F.2d 180, 186 (5th Cir.

Unit A Aug. 1981)).

      Because the openness of judicial proceedings implicates the freedom of the

press and the interests of the public, Rule 10(a) may not be set aside based on the

preferences of the parties. See id. at 322. Rather, courts must apply a “strong

presumption in favor of parties’ proceeding in their own names.” Plaintiff B v.

Francis, 631 F.3d 1310, 1315 (11th Cir. 2011). That presumption may be

overcome only in an “exceptional case.” Frank, 951 F.2d at 323.

      This is not such a case. A litigant’s status as a plaintiff is not “highly

sensitive and personal information”; the strong presumption in favor of openness in

judicial proceedings may not be discarded to avoid “unwanted public attention and

censure”; this case is no more “controversial” than countless others—including

others involving substantially similar claims—that have been filed by plaintiffs in

their own names; and Plaintiffs do not cite a single case in which a court has

allowed claims of this kind to be brought under a pseudonym. See DE20.

       At bottom, Plaintiffs argue that they should be allowed to proceed under

pseudonyms because they “reasonably fear that public exposure and association

with this lawsuit could subject them to harassment, intimidation, and potentially

even physical violence.” DE20:6. However, Plaintiffs do not point to any specific

facts that establish a “real danger of physical harm.” Frank, 951 F.2d at 324. The


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more general risk that litigants who carry the torch for controversial causes will be

illegally threatened or harassed by ideological antagonists should be taken

seriously; but the proper solution to that problem is to vigorously enforce existing

laws prohibiting such misconduct, not to ignore the “clear mandate” of Rule 10(a)

and thereby abridge the rights of the press, the public, and other parties to the

litigation.

       For those and other reasons set out below, the motion to proceed under

pseudonyms should be denied.

                                 BACKGROUND

       On February 14, 2018, a 19-year-old used a lawfully purchased firearm to

kill 17 students and injure many others at Marjory Stoneman Douglas High School

in Parkland, Florida. Responding to that and other incidents of gun violence, the

Florida Legislature enacted the Marjory Stoneman Douglas High School Public

Safety Act, which, among other things, prohibits the purchase of firearms by

persons under the age of 21. See Fla. Stat. § 790.065(13).

       On March 9, the National Rifle Association of America, Inc. (“NRA”) filed

this lawsuit, alleging that Florida’s age qualification violates the Second

Amendment and Equal Protection Clause of the United States Constitution. DE1.

The NRA was the sole plaintiff. DE1 ¶ 8. Two of the four counts alleged that

Florida Statutes § 790.065(13) is “invalid as applied to women between the ages of


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18 and 21,” DE1 ¶¶ 32, 41, but neither of those counts alleged that the statute is

unconstitutional as applied to any particular individual. See id.

      On April 27, the NRA sought leave to amend their complaint by adding a

new plaintiff, identified as Jane Doe, as well as references to an NRA member

identified as John Doe. DE18. The proposed amended complaint describes Jane

Doe as “a citizen of the United States and a resident and citizen of the State of

Florida” who “resides in Alachua County, FL.” DE18-1 ¶ 9. Two counts of the

proposed amended complaint allege that Florida Statutes § 790.065(13),

“[r]egardless of its facial validity,” is “unconstitutional, void, and invalid as

applied to Plaintiff Jane Doe and other 18-to-21-year-old adult women.” DE18-1

¶¶ 38, 47 (emphasis added).

      The NRA and Jane Doe (hereinafter “Plaintiffs”) concurrently filed a motion

seeking the Court’s leave for Jane Doe to proceed pseudonymously and for

Plaintiffs to refer to John Doe, a non-party, pseudonymously in filings. DE19;

DE20.

      This Court granted Plaintiffs’ motion for leave to amend but directed

Defendants to file an expedited response to the motion for leave to proceed under

pseudonyms. DE21:2. This filing responds to that order. 1

1
  As per the Court’s order, this expedited response addresses only Plaintiffs’
motion to proceed under pseudonyms. Defendants reserve the right to raise
threshold defenses in a subsequent filing.

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                                    ARGUMENT

        Consistent with the text of Rule 10(a), the Eleventh Circuit has recognized a

“strong presumption in favor of parties’ proceeding in their own names.” Francis,

631 F.3d at 1315; see Frank, 951 F.2d at 322 (“Generally, parties to a lawsuit must

identify themselves in their respective pleadings.”). To overcome that “strong

presumption,” a plaintiff must prove “a substantial privacy right which outweighs

the customary and constitutionally-embedded presumption of openness in judicial

proceedings.” Francis, 951 F.2d at 1315-16 (internal quotation marks omitted).

Indeed, the existence of such “a substantial privacy right” is “[t]he ultimate test for

permitting a plaintiff to proceed anonymously.” Frank, 951 F.2d at 323. In “all” of

the rare cases in which plaintiffs been allowed to proceed anonymously, plaintiffs

otherwise would have been required to “divulge[] information of the utmost

intimacy.” S. Methodist Univ. Ass’n of Women Law Students v. Wynne & Jaffe, 599

F.2d 707, 713 (5th Cir. 1979); see Francis, 631 F.3d at 1316; Roe v. Aware Woman

Ctr. for Choice, 253 F.3d 678, 685 (11th Cir. 2001).

        Applying those principles here, Plaintiffs have failed to overcome the

“strong presumption” of openness in judicial proceedings. See Francis, 631 F.3d at

1315.

        1. At the threshold, Plaintiffs fail to identify a “substantial privacy right”

that would be protected by their request to proceed anonymously. See Frank, 951


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F.2d at 323. In their sworn declarations, Jane Doe and John Doe do not identify

any “substantial privacy right” or “information of the utmost intimacy” that would

be compromised if they were required to use their own names. See DE20-1:1. Nor

is any such right mentioned in Plaintiffs’ supporting memorandum. See DE20.

That “ultimate test” cannot be satisfied by asserting that “Plaintiff Doe’s name,

address, and status as a plaintiff in this case are highly sensitive and personal,”

DE20:5; see Frank, 951 F.2d at 323. After all, every litigant in every lawsuit is

ordinarily required to divulge such identifying information, and the Eleventh

Circuit has explained that “[i]t is the exceptional case in which a plaintiff may

proceed under a fictitious name.” Frank, 951 F.2d at 323.

      A litigant’s “name, address, and status as a plaintiff” do not become “highly

sensitive and personal” just because the subject of the litigation is “controversial.”

See DE20:5; DE20-1:1. By “requir[ing] a complaint to ‘include the names of all

the parties,’” Rule 10(a) “protects the public’s legitimate interest in knowing all of

the facts involved” in a lawsuit, “including the identities of the parties.” Frank, 951

F.2d at 322. That public interest is heightened, not diminished, when a suit

involves a controversial question of public policy. See, e.g., Fla. Action Comm.,

Inc. v. Seminole Cty., No. 6:15-cv-1525, 2016 WL 6080988, at *3 (M.D. Fla. Oct.

18, 2016) (adopting report and recommendation concluding that the “public

interest would [not] be served by granting the protective order” regarding


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plaintiffs’ identities because “the constitutional claims raised by FAC in this case

are of great public importance and demand open judicial proceedings”). And the

public interest in open judicial proceedings is particularly strong where, as here,

the pertinent public controversy involves an effort to invalidate a public law

enacted for the purpose of protecting public safety.

      State statutes conferring discrete and limited protections for certain

information concerning concealed carry “license[s],” “legally owned firearms,”

and “law-abiding firearm owners,” DE20:5-6, do not support the proposition that a

civil litigant has a “substantial privacy interest” in the fact that she has filed a

public lawsuit challenging the constitutionality of a public law. See Frank, 951

F.2d at 324 (“Lawsuits are public events.”). The cited state laws are consistent with

the “clear mandate” of Federal Rule of Civil Procedure 10(a), see id. at 323,

because the information Plaintiffs seek to withhold—Jane Doe’s “name, address,

and status as a plaintiff”—would not reveal whether she has a concealed carry

license or currently owns firearms.

      Similarly, caselaw has not recognized a broad exception to the

“constitutionally-embedded presumption of openness in judicial proceedings,”

Frank, 951 F.2d at 323, for plaintiffs who raise claims involving “the possession

and use of firearms,” DE20:5. As the Eleventh Circuit has explained, “Courts have

permitted plaintiffs to proceed anonymously in cases involving [disclosure of]


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mental illness, homosexuality, and transsexuality.” Frank, 951 F.2d at 324

(citations omitted). Courts have also allowed anonymous proceedings in cases

involving “birth control, abortion, . . . the welfare rights of illegitimate children or

abandoned families,” Wynne & Jaffe, 599 F.2d at 712-13, childhood sexual abuse

by clergy, Doe v. St. John’s Episcopal Parish Day School, Inc., 997 F. Supp. 2d

1279, 1290 (M.D. Fla. 2014), and plaintiffs’ status as HIV- or AIDS-positive, S.G.

v. Mears Transportation Group, No. 6:14-cv-917, 2014 WL 4637139, at *1 (M.D.

Fla. Aug. 12, 2014). Francis itself, on which Plaintiffs rely, involved issues that

“could not be of a more sensitive and highly personal nature—they involve

descriptions of the Plaintiffs in various stages of nudity and engaged in explicit

sexual conduct while they were minors who were coerced by the Defendants into

those activities.” 631 F.3d at 1317. The courts have rejected anonymity in other

kinds of cases, like this one, not involving “information of the utmost intimacy.”

See Wynne & Jaffe, 599 F.2d at 713.

      For their part, Plaintiffs do not cite a single case in which a plaintiff was

allowed to proceed under a pseudonym because the claim the plaintiff sought to

raise implicated a “controversial” and “politically polarizing” issue in general or

related to “the possession and use of firearms” in particular. See DE20:5. Notably,

Plaintiffs cite two Second Amendment cases in their pleadings. DE20:1, 4. Both

were at least as controversial as this one, and both were brought by plaintiffs who


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identified themselves by name. See District of Columbia v. Heller, 554 U.S. 570,

575 (2008); NRA v. BATFE, 700 F.3d 185, 188 (5th Cir. 2012); see also, e.g.,

McDonald v. City of Chicago, 561 U.S. 742, 750 (2010).

      The Eleventh Circuit has identified two other factors relevant to “analyzing a

plaintiff’s claim of a substantial privacy right”: whether “the plaintiffs seeking

anonymity [are] challenging governmental activity”; and whether plaintiffs will be

“compelled to admit their intention to engage in illegal conduct and thus risk

criminal prosecution.” Francis, 631 F.3d at 1316. Neither factor supports the

motion to proceed under pseudonyms in this case.

      Plaintiffs contend that “[t]he defendants in this case are government

officials, not private individuals or entities,” so “the interests that a private party

ordinarily has in knowing the identity of his accuser are thus not present here.”

DE20:3-4. But the Eleventh Circuit has expressly rejected the argument “that there

is more reason to grant a plaintiff’s request for anonymity if the plaintiff is suing

the government.” Frank, 951 F.2d at 324 (explaining that “the fact that Doe is

suing the Postal Service does not weigh in favor of granting Doe’s request for

anonymity”); see Roe, 253 F.3d at 686 (“Plaintiffs . . . bring challenges to

government activity every court day, and no published opinion that we are aware

of has ever permitted a plaintiff to proceed anonymously merely because the




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complaint challenged government activity.”); Stegall, 653 F.2d at 185 (“[I]n only a

very few cases challenging governmental activity can anonymity be justified.”).

      As to the second factor, Plaintiffs do not contend that participation in this

lawsuit will compel admission of any “intention to engage in illegal conduct and

thus risk criminal prosecution.” Francis, 631 F.3d at 1316. Thus, that factor does

not support their motion.

      In short, Plaintiffs have not pointed to any “substantial privacy interest” that

would be served by disregarding the mandate of Rule 10(a). That consideration,

standing alone, compels the conclusion that the motion to proceed under

pseudonyms should be denied. See Frank, 951 F.2d at 323; Wynne & Jaffe, 599

F.2d at 713.

      2. Establishing a “substantial privacy right” in proceeding anonymously is a

necessary, but not a sufficient, condition for departing from the mandate of Rule

10(a). See Francis, 631 F.3d at 1316; Frank, 951 F.2d at 323; Wynne & Jaffe, 599

F.2d at 713. Assuming arguendo that Plaintiffs have identified substantial “privacy

concerns,” the question is whether, based on “all the circumstances of a given

case,” “the customary practice of disclosing the plaintiff’s identity should yield to

the plaintiff’s privacy concerns.” Frank, 951 F.2d at 323.




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      Applying precedent to the circumstances of this case, Plaintiffs have failed

to overcome the strong presumption favoring open judicial proceedings, for at least

four reasons.

      First, litigants similarly situated to Jane Doe and John Doe have openly

made claims very similar to those raised here. Consider the following examples:

   · In NRA v. BATFE, 700 F.3d 185 (5th Cir. 2012), the Fifth Circuit addressed
     claims raised by three named individuals “who at the time of filing were
     over the age of 18 but under the age of 21,” and who argued that certain
     federal statutes “violate the Second Amendment and the equal protection
     component of the Fifth Amendment by preventing law-abiding 18-to-20-
     year-old adults from purchasing handguns from federally licensed dealers.”
     Id. at 188; see NRA v. McGraw, 719 F.3d 338, 343 (5th Cir. 2013) (noting
     that the same “three individual plaintiffs, ages 18-20,” also brought a
     “constitutional challenge to Texas’s constructive ban on 18-to-20-year-olds
     carrying handguns in public”).

   · In Powell v. Tompkins, 926 F. Supp. 2d 367 (D. Mass. 2013), the district
     court addressed a “massive frontal assault on Massachusetts’s gun control
     legislation” brought by a named litigant who “was eighteen years of age” at
     the time in question. Id. at 370, 371 n.6. Plaintiff claimed, among other
     things, that a Massachusetts law was “unconstitutional because, in setting
     the minimum age for obtaining a license to carry a firearm at twenty-one, it
     is violative of the rights of eighteen-to-twenty year-olds under the Second
     Amendment and under the Equal Protection Clause of the Fourteenth
     Amendment.” Id. at 370.

   · In Horsley v. Trame, 808 F.3d 1126 (7th Cir. 2015), a named plaintiff
     claimed that an “Illinois statutory scheme violates her rights under the
     Second Amendment” after her “application to possess an Illinois Firearm
     Owner’s Identification Card . . . was returned to her as incomplete because
     she was over 18 but not yet 21 and her application did not contain a parent
     or guardian signature.” Id. at 1127.

   · In Ezell v. City of Chicago, 846 F.3d 888 (7th Cir. 2017), three named
     plaintiffs “who want[ed] access to a firing range within city limits” brought
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      suit challenging a regulation that disallowed any person under the age of 18
      from practicing firearm use in the controlled setting of a shooting range. Id.
      at 890, 891 n.2.

      Plaintiffs here do not cite any evidence establishing that the plaintiffs in

those other cases were “subjected to harassment, intimidation, threats, [or] . . .

physical violence,” DE20-1 ¶ 4; and still less have they shown that ordinary legal

processes and protections would be inadequate to the task of addressing such

problems, if and when they arise, in this case. Absent such evidence, this Court

should not assume that “the highly controversial nature” of litigation concerning

gun-control issues, standing alone, overcomes the strong presumption in favor of

openness in judicial proceedings. See DE20-1; DE20-2.

      Second, Jane Doe and John Doe “face no greater threat” of harm “than the

typical plaintiff alleging” violations of Second Amendment rights. See id.

(“hold[ing] that these Title VII plaintiffs may not sue under fictitious names” and

emphasizing that those plaintiffs “face no greater threat of retaliation than the

typical plaintiff alleging Title VII violations”). In her declaration, Jane Doe cites

what she characterizes as “the highly controversial nature of this litigation” as the

sole basis for speculating that she might be subject to harassment or threats if her

identity is revealed to the public. See DE20-1 ¶ 4. Notably, however, Plaintiffs do

not argue that challenges to age-related firearms restrictions are uniquely

controversial; rather, they take the view that all Second Amendment cases are


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highly controversial. See DE20:5 (“Few issues of public policy are as controversial

and politically polarizing as the possession and use of firearms.”). Thus, the logical

implication of Plaintiffs’ position is that all litigants seeking to vindicate Second

Amendment rights should be allowed to proceed pseudonymously. Nevertheless,

“Plaintiffs have not cited, nor have we found, any prior decisions which recognize

or even discuss the right of” Second Amendment “plaintiffs to proceed

anonymously.” See Wynne & Jaffe, 599 F.2d at 712 (emphasis added).

      Third, Plaintiffs do not assert—and still less do they prove—that the rule

“requir[ing] a complaint to ‘include the names of all the parties,’” Frank, 951 F.2d

at 322, would preclude or even substantially complicate their goal of obtaining

judicial resolution of the constitutional claims they seek to raise. See DE20-1.

According to Plaintiffs, “[t]he NRA has a membership of approximately five

million persons, many thousands of whom reside throughout the State of Florida.”

DE18-1 ¶ 8. Plaintiffs do not claim that, out of those millions of members, they

could not find one who has standing to sue and is willing to file suit in his or her

own name. Nor is there any basis for thinking that is the case: Jane Doe and John

Doe, for example, have said that they would prefer to proceed anonymously; they

have not said that they will take part in this case only if they are allowed to proceed

anonymously. See DE20-1; DE20-2.




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      Fourth, Plaintiffs bring suit under 42 U.S.C. § 1983, and they “seek remedies

under 28 U.S.C. §§ 1651, 2201, and 2202 and 42 U.S.C. §§ 1983 and 1988.”

DE18-1 ¶ 6. The plain “language” of those provisions “establishes no exception to

the general principle that ‘the identity of the parties to a lawsuit should not be

concealed.” Wynne & Jaffe, 599 F.2d at 712; see id. at 713 (“Because we find

neither an express congressional grant of the right to proceed anonymously nor a

compelling need to protect[] privacy in a very private matter, we hold that these

Title VII plaintiffs may not sue under fictitious names and therefore affirm the

district court’s order requiring disclosure of A-D’s identities by proper pleadings.”

(internal quotation marks omitted)).

      3. Plaintiffs contend that Defendants would not “be prejudiced by allowing

Jane Doe (or John Doe) to remain anonymous,” because “the dispositive issues in

this case are likely to be purely legal ones.” DE20:4. That argument is

unpersuasive for several reasons.

      First, the “clear mandate” set out in Rule 10(a), by its terms, does not turn on

whether adherence to that rule would prejudice other parties to the litigation. And

for good reason. The general “requirement of disclosure” embodied in Rule 10(a)

“protects the public’s legitimate interest in knowing all of the facts involved” in a

suit. Roe, 253 F.3d at 685 (emphasis added; internal quotation marks omitted).




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Focusing on whether Defendants would be prejudiced by non-disclosure would

invert the strong presumption in favor of open judicial proceedings.

      Second, Defendants would be prejudiced if Jane Doe and John Doe are

allowed to conceal their identities from either defense counsel or the general

public. Defendants must know who Jane Doe is to assess whether she currently

has, and continues to maintain, standing to prosecute this action. See, e.g., BATFE,

700 F.3d at 191 (concluding that “the issues on appeal are moot as to” two of the

three named plaintiffs, “[b]ecause they have aged out of the demographic group

affected by the ban at bar”). For example, Plaintiffs allege that Jane Doe “has

never been convicted of a felony, has never been adjudicated mentally defective,

and, but for the challenged age ban, could lawfully purchase a firearm under

Florida and federal law.” DE18-1 ¶ 21. These allegations bear directly on Jane

Doe’s standing as a plaintiff, and they are material even at the pleadings stage, as

Defendants may be able to disprove them as a matter of law. Indeed, even if

Plaintiffs’ representations are verified as an initial matter, Jane Doe’s rights vis-à-

vis firearms may change at any time and could render her claims moot. See

BATFE, 700 F.3d at 191. Similarly, facts related to John Doe are relevant to

assessing whether the NRA has standing. See DE18-1 ¶¶ 27-28; BATFE, 700 F.3d

at 191-92. Defendants are entitled to monitor developments as to these issues so

that, if necessary, Defendants may bring them to the Court’s attention.


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      Just as importantly, Defendants must know who Jane Doe is, and obtain

appropriate discovery, in order to assess potential defenses to her two as-applied

claims. See DE18-1 ¶¶ 38, 47; Francis, 631 F.3d at 1318-19 (weighing in favor of

anonymity the fact that “[t]he Defendants are aware of the Plaintiffs’ identities and

thus are not barred from conducting a full range of discovery in building a defense

for trial”). For example, Defendants may seek to argue that, even if the challenged

restriction impinges on Jane Doe’s Second Amendment rights, any such burden is

constitutionally justified as applied to the particular circumstances of her case—

including whether she has access to other available methods of obtaining firearms.

Those and other potential defenses cannot be explored if Jane Doe proceeds under

a pseudonym.

      It is no answer to say that, “to the extent the identity of either Jane Doe or

John Doe for some reason becomes critical to the conduct of this litigation,

Plaintiffs would be willing to share their identifying information with Defendants’

counsel on an attorneys’-eyes-only basis.” DE20:4. The attorney-client relationship

is impaired when attorneys are ordered to conceal information from their own

clients; state public-records requirements would complicate the task of keeping

such information confidential; persons other than Defendants’ attorneys may well

have information germane to Jane Doe’s standing and her as-applied claims; and

the State’s interest in maintaining a high degree of public confidence in the fairness


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and integrity of judicial proceedings is thwarted when the press and interested

citizens are deprived of information concededly “critical to the conduct of [the]

litigation,” id.

       In addition, an order directing Plaintiffs’ to “share their identifying

information with Defendants’ counsel on an attorneys’-eyes-only basis,” DE20:4,

would needlessly complicate the conduct of the proceedings. See Wynne & Jaffe,

599 F.2d at 710 (noting trial judge’s reasoning that “the mechanics of non-

disclosure would only further complicate an already complicated set of cases”). Or

worse. For example, would the Court, notwithstanding competing First

Amendment principles giving the public and the press a right of access to judicial

proceedings, close the courthouse doors to all persons other than counsel if Jane

Doe either chooses to offer, or is required to offer, testimony on matters germane

to her as-applied claims?

       In resolving the threshold question whether Plaintiffs should be allowed to

file their proposed amended complaint, this Court should not be required to

anticipate whether “the dispositive issues in this case are likely to be purely legal

ones,” DE20:4 (emphasis added). Nor is it clear, at this stage of the litigation, that

Jane Doe may prevail on her as-applied claims without further factual development

illustrating how Florida Statutes § 790.065(13) would apply to her. See

GeorgiaCarry.org, Inc. v. Georgia, 687 F.3d 1244, 1255 n.20 (11th Cir. 2012)


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(noting that “there are few situations” in which “it is possible to bring an as-

applied challenge in a pre-enforcement review of a statute that has yet to be

applied,” and adverting to “the factual allegations necessary to clearly illustrate the

context in which the statute will be applied”).

      What is more, the NRA’s proposed addition of Jane Doe as a plaintiff either

adds to their case or it doesn’t. If it does, Defendants, this Court, and the public

should be entitled to explore the factual context in which those as-applied claims

are raised; if it doesn’t, Plaintiffs are not in a good position to insist that it is

necessary for Jane Doe to file suit under a pseudonym.

      4. Plaintiffs argue that they should be allowed to proceed under pseudonyms

because they “reasonably fear that public exposure and association with this

lawsuit could subject them to harassment, intimidation, and potentially even

physical violence.” DE20:6. That concern warrants careful consideration, but

Plaintiffs’ submission in this case does not provide a sufficient basis for

overcoming the strong presumption in favor of open judicial proceedings.

      First, Plaintiffs do not point to any specific facts that establish a “real danger

of physical harm.” See Frank, 951 F.2d at 324. Jane Doe and John Doe state only

that “[b]ecause of the highly controversial nature of this litigation,” they are afraid

that they will be “subjected to harassment, intimidation, threats, and potentially

even physical violence” if their “association with the lawsuit [becomes] public.”


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DE20-1 ¶ 4; DE20-2. The same could be said in every case involving an arguably

controversial issue. Under the law of this Circuit, however, “[i]t is the exceptional

case in which a plaintiff may proceed under a fictitious name.” Frank, 851 F.2d at

323. Accordingly, requests for anonymity “must be based on more than

generalities and speculation.” Seminole Cty., 2016 WL 6080988, at *2.

      The declaration by former NRA president Marion Hammer does not fill that

gap. Ms. Hammer notes that she has been harassed and threatened for her advocacy

in support of Second Amendment rights. DE20-3. To obtain the extraordinary

relief they seek, however, Jane Doe and John Doe must produce “evidence

indicating that the Does themselves face[] [a] threat of violence.” Seminole Cty,

2016 WL 6080988, at *3. As prospective parties to one discrete lawsuit, moreover,

Jane and John Doe are not situated similarly to Ms. Hammer, a longstanding and

nationally known advocate. Ms. Hammer’s declaration includes an exhibit showing

that she has received harassing and threatening e-mails in the last few months, but

Ms. Hammer is not a plaintiff in this lawsuit, and the e-mails she has received bear

no nexus to the NRA’s participation in this lawsuit. Indeed, many of them are

dated well before the NRA filed its complaint on March 9. See DE20-3:5-18.

      Second, there are other and better ways to deal with the speculative danger

Plaintiffs understandably seek to avert. A decent society will not tolerate threats or

acts of violence directed against litigants who seek to vindicate constitutional


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rights. However, numerous state and federal laws already prohibit such

misconduct; and aggrieved parties may invoke a broad range of remedies,

retrospective and prospective, if they are actually “subjected to harassment,

intimidation, threats, [or] . . . physical violence,” DE20-1:1, in contravention of

state or federal law. See, e.g., Fla. Stat. § 790.401 (availability of protective

orders), id. § 836.10 (prohibiting written threats); id. § 784.048 (prohibiting

cyberstalking).

      In other words, the general risk that litigants who carry the torch for

controversial causes will be illegally threatened or harassed by ideological

antagonists should not be lightly dismissed; but the proper solution to that problem

is to vigorously enforce existing laws, not to ignore the “clear mandate” of Rule

10(a) and thereby abridge the rights of the press, the public, and other parties to the

litigation. See Frank, 951 F.2d at 322 (emphasizing “the public’s legitimate

interest in knowing all of the facts involved” in a lawsuit). Similarly, the remedy

for inappropriate public “censure,” DE20:5, is more and better speech, “not

enforced silence,” Whitney v. California, 274 U.S. 357, 377 (1927) (Brandeis, J.,

concurring). Just as hecklers are not allowed to veto speech of which they

disapprove, “potential[]” wrongdoers (see DE20-1 ¶ 4) should not be allowed to

overcome the “customary and constitutionally-embedded presumption of openness

in judicial proceedings,” Frank, 951 F.2d at 323 (quoting Stegall, 653 F.2d at 186).


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      In sum, Plaintiffs have not identified a substantial privacy interest that would

be served by allowing them to proceed under pseudonyms, and still less have they

identified privacy concerns sufficiently compelling to overcome the strong and

constitutionally-based presumption in favor of open judicial proceedings.

                                     CONCLUSION

      The motion to proceed under pseudonyms should be denied.


                                Respectfully Submitted this 4th day of May, 2018,

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                       CERTIFICATE OF SERVICE

       I certify that on this 4th day of May, 2018, a copy of the foregoing was
served on all counsel of record through the Court’s CM/ECF Notice of Electronic
Filing System.

                                           /s/Amit Agarwal
                                           Attorney

                    CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 7.1(F) of the Local Rules of the Northern District of
Florida, I certify that the foregoing Opposition and Incorporated Memorandum
contains 4,758 words.

                                           /s/ Amit Agarwal
                                           Amit Agarwal




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